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UNITED STATES OF AMERICA,

Case 1:20-cr-00191-KMW Document 32

20 CR 191 (KXMW)

-against-
SENTENCING

SCHEDULING ORDER

CHARLES IFEANYI OGOZY,

Defendant.
x

KIMBA M. WOOD, District Judge
The Defendant is scheduled to be sentenced on April 14, 2021 at 11:00 a.m.

The Presentence Investigation Report is due to the Court on April 7, 2021.

Any sentencing submissions by Defendant must be made by April 9, 2021, and must state specifically

whether Defendant contests any fact in the Presentence Report, and whether Defendant contests the

appropriateness of the Probation Officer’s Sentencing Recommendation.

Defense counsel must arrange for the presentence interview to occur within 14 days of the defendant’s
guilty plea. The Government must submit a statement of facts to Probation within 14 days of the defendant’s
guilty plea. The Government must submit its 5K1.1 letter, if applicable, 14 days before sentencing. All

counsel must review the Court’s Individual Rules before submitting sentencing memoranda,

Probation should contact Chambers if they experience difficulty scheduling the presentence interview

or if the PSR will not be completed in a timely fashion.

Any response or other submission from the Government is due April 12, 2021.

SO ORDERED
Dated: New York, New York

January 12, 2021
Itt Yr. Wah

KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE
